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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA

LAFAYETTE DIVISION
UNITED STATES OF AMERICA * CRIMINAL NO.
*
*
VERSUS *  6:23-cr-00205
* Judge Summerhays
*

Magistrate Judge Whitehurst
DAMARIO LYONS, a.k.a. “Mario” —(01)*

RANDALL THIBODEAUX, (02) *
JORY WILLIAMS, a.k.a. “Ro” (03)*
LATHANIAS MCZEAL (04)*
DREKEYLONE PETERS, (05) *
GAVIN WILLIAMS, a.k.a. “Guy” (06)*
QUINTIEN COBB (07)*
INDICTMENT

THE FEDERAL GRAND JURY CHARGES:
COUNT 1
Conspiracy to Distribute and Possess with the Intent to Distribute
Controlled Substances (Methamphetamine)
[21 U.S.C. § 846]

Beginning on an unknown date but no later than July 1, 2022, and continuing
to on or about May 9, 20238, in the Western District of Louisiana, the defendants,
Damario LYONS, a.k.a. “Mario”; Randall THIBODEAUX; Jory WILLIAMS, a.k.a.
“Ro”; Lathanias MCZEAL; Drekeylone PETERS; Gavin WILLIAMS, a.k.a. “Guy”; and
Quintien COBB, knowingly and intentionally combined, conspired, confederated and

agreed together and with each other, and with other persons known and unknown to

the Grand Jury, to commit the following offenses against the United States, to wit: to
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distribute and possess with the intent to distribute methamphetamine, its salts,
isomers, and salts of its isomers or a mixture or substance containing a detectable
amount of methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II
narcotic controlled substance; in violation of Title 21, United States Code, Sections
841(a)(1) and 846. [21 U.S.C. §§ 841(a)(1), 846].

With respect to defendants Damario LYONS, a.k.a. “Mario”; Randall
THIBODEAUX; Jory WILLIAMS, a.k.a. “Ro”; Lathanias MCZEAL; and Drekeylone
PETERS, the amount involved in the conspiracy attributable to them as a result of
their own conduct, and the conduct of other conspirators reasonably foreseeable to
them, is 50 grams or more of methamphetamine, its salts, isomers, and salts of its
isomers or 500 grams or more of a mixture or substance containing a detectable
amount of methamphetamine, its salts, isomers, or salts of its isomers. All in violation
of Title 21, United States Code, Sections 846, 841(a)(1) and 841(b)(1)(A). [21 U.S.C.
§§ 846, 841(a)(1), 841(b)(1)(A)].

With respect to defendant Gavin WILLIAMS, a.k.a. “Guy”, and Quintien
COBB, the amount involved in the conspiracy attributable to them as a result of their
own conduct, and the conduct of other conspirators reasonably foreseeable to them,
is a mixture or substance containing a detectable amount of methamphetamine, its
salts, isomers, or salts of its isomers. All in violation of Title 21, United States Code,

Sections 841(a)(1) and 841(b)(1)(C). [21 U.S.C. §§ 841(a)(1) and 841(b)(1)(O)].
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COUNT 2
Possession with Intent to Distribute Controlled Substances
(Methamphetamine)
[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]

On or about March 2, 2023, in the Western District of Louisiana, the defendant,
Drekeylone PETERS, did knowingly and intentionally possess with intent to
distribute 50 grams or more of methamphetamine, its salts, isomers, and salts of its
isomers or 500 grams or more of a mixture or substance containing a detectable
amount of methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II

controlled substance; all in violation of Title 21, United States Code, Sections

841(a)(1) and (b)(1)(A). [21 U.S.C. §§ 841(a)(1), (b)(1)(A)].

COUNT 3
Distribution of Controlled Substances
(Methamphetamine)
[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]

On or about May 4, 2028, in the Western District of Louisiana, the defendants,
Damario LYONS, a.k.a. “Mario”; and Randall THIBODEAUX, did knowingly and
intentionally distribute 50 grams or more of methamphetamine, its salts, isomers,
and salts of its isomers or 500 grams or more of a mixture or substance containing a
detectable amount of methamphetamine, its salts, isomers, or salts of its isomers, a

Schedule II controlled substance; all in violation of Title 21, United States Code,

Sections 841(a)(1) and (b)(1)(A). [21 U.S.C. §§ 841(a)(1), (b)(1)(A)].
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COUNT 4
Possession with Intent to Distribute Controlled Substances
(Methamphetamine)
[21 U.S.C. §§ 841(a)(1), (b)(1)(C)]
On or about May 4, 2023, in the Western District of Louisiana, the defendant,
Quintien COBB, did knowingly and intentionally possess with intent to distribute a

mixture or substance containing a detectable amount of methamphetamine, its salts,

isomers, or salts of its isomers, a Schedule II controlled substance; all in violation of

Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C). [21 U.S.C. §§ 841(a)(1),

(b)(1)(C)].
COUNT 5
Possession with the Intent to Distribute Controlled Substances
(Methamphetamine)

[21 U.S.C. §§ 841(a)(1), (b)(1)(A)]

On or about May 4, 2023, in the Western District of Louisiana, the defendants,
Damario LYONS, a.k.a. “Mario”, and Lathanias MCZEAL, did knowingly and
intentionally possess with the intent to distribute 50 grams or more of
methamphetamine, its salts, isomers, and salts of its isomers or 500 grams or more
of a mixture or substance containing a detectable amount of methamphetamine, its

salts, isomers, or salts of its isomers, a Schedule II controlled substance; all in

violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(A). [21 U.S.C.

§§ 841(a)(1), (b)()(A)].
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COUNT 6
Conspiracy to Distribute and Possess with the Intent to Distribute
Controlled Substances (Fentanyl)
[21 U.S.C. § 846]

Beginning on an unknown date but no later than December 8, 2022, and
continuing to on or about May 9, 2023, in the Western District of Louisiana, the
defendants, Damario LYONS, a.k.a. “Mario”; Randall THIBODEAUX; Jory
WILLIAMS, a.k.a. “Ro”; Lathanias MCZEAL; Drekeylone PETERS; and Gavin
WILLIAMS, a.k.a. “Guy”, knowingly and intentionally combined, conspired,
confederated and agreed together and with each other, and with other persons known
and unknown to the Grand Jury, to commit the following offenses against the United
States, to wit: to distribute and possess with the intent to distribute a mixture and
substance containing a detectable amount of N-phenyl-N- [1- (2-phenylethy] ) -4-
piperidinyl] propanamide (fentanyl), a Schedule II controlled substance; all in
violation of Title 21, United States Code, Sections 841(a)(1) and 846. [21 U.S.C.
§§ 841(a)(1), 846].

With respect to defendants Damario LYONS, a.k.a. “Mario”; Randall
THIBODEADUX; Jory WILLIAMS, a.k.a. “Ro”; Lathanias MCZEAL; and Drekeylone
PETERS, the amount involved in the conspiracy attributable to them as a result of
their own conduct, and the conduct of other conspirators reasonably foreseeable to
them, is 40 grams or more of a mixture and substance containing a detectable amount
of N-phenyl-N- [1- (2-phenylethy] ) -4-piperidinyl] propanamide (fentanyl), all in
violation of Title 21, United States Code, Sections 846, 841(a)(1) and 841(b)(1)(B). [21

U.S.C. §§ 846, 841(a)(1), 841(b)(1)(B)].
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With respect to defendant, Gavin WILLIAMS, a.k.a. “Guy”, the amount
involved in the conspiracy attributable to him as a result of his own conduct, and the
conduct of other conspirators reasonably foreseeable to him, is a mixture and
substance containing a detectable amount of N-phenyl-N- [1- (2-phenylethy] ) -4-
piperidinyl] propanamide (fentanyl), all in violation of Title 21, United States Code,
Sections 846, 841(a)(1) and 841(b)(1)(C). [21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(C)].

COUNT 7
Possession with the Intent to Distribute Controlled Substances
(Fentanyl)
[21 U.S.C. §§ 841(a)(1), (b)(1)(C)]

On or about March 2, 20238, in the Western District of Louisiana, the defendant,
Drekeylone PETERS, did knowingly and intentionally possess with the intent to
distribute a mixture and substance containing a detectable amount of N-phenyl-N-
[1- (2-phenylethyl]) -4-piperidinyl] propanamide (fentanyl), all in violation of Title
21, United States Code, Sections 841(a)(1) and 841(b)(1)(C). [21 U.S.C. §§ 841(a)(1)

and 841(b)(1)(©)].
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COUNT 8
Possession with the Intent to Distribute Controlled Substances
(Fentanyl)
[21 U.S.C. §§ 841(a)(1), (b)(1)(B)]

On or about May 4, 2028, in the Western District of Louisiana, the
defendants, Damario LYONS, a.k.a. “Mario”, and Lathanias MCZEAL, did knowingly
and intentionally possess with the intent to distribute 40 grams or more of a mixture
and substance containing a detectable amount of N-pheny]-N- [1- (2-phenylethy] ) -4-
piperidinyl] propanamide (fentanyl), all in violation of Title 21, United States Code,
Sections 841(a)(1) and 841(b)(1)(B). [21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)].

COUNT 9
Possession with the Intent to Distribute Controlled Substances
(Fentanyl)
[21 U.S.C. §§ 841(a)(1), (b)(1)(C)]
On or about May 4, 2023, in the Western District of Louisiana, the defendant,
Jory WILLIAMS a.k.a. “Ro”, did knowingly and intentionally possess with the intent
to distribute a mixture and substance containing a detectable amount of N-pheny]l-
N- [1- (2-phenylethy] ) -4-piperidinyl] propanamide (fentanyl), all in violation of Title
21, United States Code, Sections 841(a)(1) and 841(b)(1)(C). [21 U.S.C. §§ 841(a)(1),

841(b)(1)(©)].
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COUNT 10
Conspiracy to Distribute and Possess with the Intent to Distribute
‘Controlled Substances (Heroin)
[21 U.S.C. § 846]

Beginning on an unknown date but no later than April 18, 2023, and
continuing to on or about May 9, 2023, in the Western District of Louisiana, the
defendants, Damario LYONS, a.k.a. “Mario”; Randall THIBODEAUX; Jory
WILLIAMS, a.k.a. “Ro”; and Lathanias MCZEAL, knowingly and intentionally
combined, conspired, confederated and agreed together and with each other, and with
other persons known and unknown to the Grand Jury, to commit the following
offenses against the United States, to wit: to distribute and possess with the intent
to distribute 100 grams or more of a mixture and substance containing a detectable

amount of heroin, a Schedule I controlled substance; all in violation of Title 21, United

States Code, Sections 841(a)(1), 841(b)(1)(B), and 846. [21 U.S.C. §§ 846, 841(a)(1),

841(b)(1)(B)].
COUNT 11
Possession with the Intent to Distribute Controlled Substances
(Heroin)

[21 U.S.C. §§ 841(a)(1), (b)(1)(B)]

On or about May 4, 2023, in the Western District of Louisiana, the defendants,
Damario LYONS, a.k.a. “Mario” and Lathanias MCZEAL, did knowingly and
intentionally possess with the intent to distribute 100 grams or more of a mixture
and substance containing a detectable amount of heroin, a Schedule I controlled
substance; all in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(B). [21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)].
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COUNT 12
Conspiracy to Distribute and Possess with the Intent to Distribute
Controlled Substances (Cocaine and Cocaine Base)
[21 U.S.C. § 846]

Beginning on an unknown date but no later than December 22, 2022, and
continuing to on or about May 9, 2023, in the Western District of Louisiana, the
defendants, Damario LYONS, a.k.a. “Mario”; Randall THIBODEAUX; Jory
WILLIAMS, a.k.a. “Ro”; Lathanias MCZEAL; and Drekeylone PETERS, knowingly
and intentionally combined, conspired, confederated and agreed together and with
each other, and with other persons known and unknown to the Grand Jury, to commit
the following offenses against the United States, to wit: to distribute and possess with
intent to distribute five hundred (500) grams or more of a mixture and substance
containing a detectable amount of cocaine, its salts, optical and geometric isomers,
and salts of isomers, and over twenty-eight (28) grams of cocaine base (commonly
referred to as “crack cocaine”), Schedule II controlled substances, in violation of Title

21, United States Code, Section 841(a)(1). All in violation of Title 21, United States

Code, Sections 846, 841(a)(1), and 841(b)(1)(B). [21 U.S.C. §§ 846, 841(a)(1),

841(b)(1)(B)].
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COUNT 13
Possession with the Intent to Distribute Controlled Substances
(Cocaine and Cocaine Base)
[21 U.S.C. §§ 841(a)(1), (b)(1)(B)]

On or about March 2, 20238, in the Western District of Louisiana, the defendant,
Drekeylone PETERS, did knowingly and intentionally possess with the intent to
distribute five hundred (500) grams or more of a mixture and substance containing a
detectable amount of cocaine, its salts, optical and geometric isomers, and salts of
isomers, and over twenty-eight (28) grams of cocaine base (commonly referred to as
“crack cocaine”), Schedule II controlled substances, in violation of Title 21, United
States Code, Sections 841(a)(1) and 841(b)(1)(B). [21 U.S.C. §§ 841(a)(1),
841(b)(1)(B)].

COUNT 14
Possession with the Intent to Distribute Controlled Substances
(Cocaine and Cocaine Base)
[21 U.S.C. §§ 841(a)(1), (b)(1)(B)]

On or about May 4, 2023, in the Western District of Louisiana, the defendants,
Damario LYONS, a.k.a. “Mario”, and Lathanias MCZEAL, did knowingly and
intentionally possess with the intent to distribute five hundred (500) grams or more
of a mixture and substance containing a detectable amount of cocaine, its salts,
optical and geometric isomers, and salts of isomers, and over twenty-eight (28) grams
of cocaine base (commonly referred to as “crack cocaine”), Schedule II controlled

substances, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(B). [21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)].

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COUNT 15
Possession of Firearm in Furtherance of a Drug Trafficking Crime
[18 U.S.C. § 924(c)]

On or about March 2, 20238, in the Western District of Louisiana, the defendant,
Drekeylone PETERS, did knowingly possess firearms, to wit: one (1) Taurus
Millennium Pro, .45 ACP handgun; one (1) Glock 26, 9mm handgun; and one (1)
Anderson Manufacturing AM-15 rifle, in furtherance of a drug trafficking crime for
which he may be prosecuted in a court of the United States, namely Possession with
Intent to Distribute Methamphetamine, Fentanyl, Cocaine, and Cocaine Base, as
alleged in Counts 1, 2, 6, 7, and 12, all in violation of Title 18, United States Code,
Section 924(c). [18 U.S.C. § 924(c)].

COUNT 16
Maintaining a Drug Involved Premises
[21 U.S.C. § 856(a)(1)]

Between on or about April 138, 2023 and May 4, 2028, in the Western District
of Louisiana, the defendant, Damario LYONS, aka “Mario”, did unlawfully and
knowingly use and maintain a place located at 1314S. Main St., Jennings, Louisiana,

for the purpose of manufacturing and distributing a controlled substance, in violation

of Title 21, United States Code, Section 856(a)(1). [21 U.S.C. § 856(a)(1)].

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FORFEITURE NOTICE (Controlled Substances)
[21 U.S.C. §853]

The allegations in all counts are re-alleged and incorporated by reference for
the purpose of alleging forfeiture pursuant to Title 21, United States Code, Section
853.

Pursuant to Title 21, United States Code, Section 858, upon conviction of an
offense in violation of Title 21, United States Code, Sections 846, 841(a)(1), and
856(a)(1), the defendants Damario LYONS, a.k.a. “Mario”; Randall THIBODEAUX;
Jory WILLIAMS, a.k.a. “Ro”; Lathanias MCZEAL; Drekeylone PETERS; Gavin
WILLIAMS, a.k.a. “Guy”; and Quintien COBB, shall forfeit to the United States of
America any property constituting, or derived from, any proceeds obtained, directly
or indirectly, as the result of such offenses and any property used, or intended to be
used, in any manner or part, to commit, or to facilitate the commission of, the
offense(s).

If any property, as a result of any act or omission of the defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

C, has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided

without difficulty,
the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p). [21 U.S.C. § 853]

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FORFEITURE NOTICE (Firearms)
[18 U.S.C. § 924(d)(1)]

A. The allegations contained in Count 15 are incorporated by reference for the

purpose of alleging forfeiture pursuant to the provisions of Title 18, United States

Code, Section 924(d)(1). [18 U.S.C. § 924(d)(1)].

B. As a result of the violations as described in Count 15 of this Indictment and

upon conviction, the defendant, Drekeylone PETERS, shall forfeit to the United

States any right of ownership or interest that he might have in the firearms as

described in Count 15 of the Indictment and set forth below:

(1)
(2)
(3)
(4)

One (1) Taurus Millennium Pro, .45 ACP handgun, Serial # NYH17201
One (1) Glock 26, 9mm handgun, Serial # BKSE373

One (1) Anderson Manufacturing AM-15 rifle, Serial # 15069534, and
All ammunition recovered on March 2, 20238

All in violation of Title 18, United States Code, Section 924(d)(1). [18 U.S.C. §

924(d)(1)].

A TRUE BILL:

REDACTED

/ GRAND JURY FOREPERSON

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